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DANIEL G.BOGDEN
U nited StatesA ttom ey
N evada State BarN o.2137                                            :lY 12 2û11
M ICHAEL HUM PHREYS
A ssistantUnited SutesAttorney
Lloyd D.GeorgeUnited SttesCourthouse                              R ERKtl!DISIRIN N tIRI
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Las V egms,N evada 89101                                  B%                               -
Telephqne:(702)388-6336
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CotmselforPlaintiff

                           UN ITED STA TES DISTR ICT C O U RT
                                 DISTR IC T O F NEV A DA

UNITED STATESOFAM ERJCAS                 )
                                         )
                    Plaintiff,           )
                                         )
        v.                               )               2:09-CR.-376-0MN IRJJI
                                         )
IGNACIO GOM EZ-SANCHEZ.a.k.a.Gtltickys'' )
a.k a.CarlosOmar-Flores-Guadalupe,a.k.a. )
Roàeuopaaa,                                     )
                                                )
                      Defendant.                )

                                 O RD ER O F FO R FEIT URE
        ThisCourtfoundonFebruary 17,20lI,tIIatIGNACIO GOM EZ-SANCHEZ,a.k.a.S% cky,''
 a.k.a.Carlos Om ar-Flores-Guadalupe,a.k.a.Roberto Panw shallpay a criminalforfeiture m oney

judgmentof$200,000.00inunitedStatesCurrency,pursuanttoFed.R.Crim.P.32.2(b)(l)and(2);
 Title18,United StatesCode,Section 981(a)(1)(A);Title28,United StatesCode,Section2461(c);
 Title18,UnitedStatesCode,Section98l(a)(1)(C);Title18,UnitedStatesCode,Section982(A)(1);
 andTitle21,United StatesCode,Section853(a)(1),(a)(2),and(p).Docket//66,67.
         THEREFORE,IT IS HEREBY O RDERED ,A DJU DG ED ,AN D D ECREED thattheU nited
 States recover from IGN A CIO G OM EZ-SA N CH EZ, a.k.a.Gtlkiclty,''a.k.a.Carlos O m ar-Flores-

 Guadalupe,a.k.a.RobertoParra,acriminalforfeituremoneyjudgmentintheamountof$200,000.00
 in United StaiesCurrency pursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B),Fed.R.CHm.P,
 32.2(b)(1)and(2);Title18,UnitedStatesCode,Section981(a)(1)(A);Title28,UnitedStatesCode,
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         1 Section 2461(c);Title l8,United StatesCode,Section981(a)(1)(C);Title 18,United SutesCode,
         2 Section 982(A)(1);andTitle21,United StatesCodesSection853(a)(1),(a)(2),and(.
                                                                                      p),
         3           DA'FED this      day of                          ,2011.
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